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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS


    JPAY LLC,                                              Civil Action No.: 3:22-CV-01492-E
    A Delaware Limited Liability Company,

                            Plaintiff,

                   vs.

    LONNIE BURTON and
    MICHAEL LINEAR,

                            Defendants.


               PLAINTIFF’S AMENDED COMPLAINT FOR DECLARATORY
                             AND INJUNCTIVE RELIEF1

         Plaintiff, JPay LLC (“JPay”) files this Complaint for Declaratory and Injunctive Relief

against Lonnie Burton and Michael Linear (collectively, “Defendants”), and alleges:

                                                   PARTIES

         1.      Plaintiff JPay is a Delaware Limited Liability Company, with its principal place of

business in Miramar, Florida. As discussed here, JPay is a citizen of Delaware and Texas.

Specifically, JPay’s sole member is Securus J Holdings, LLC (a Delaware LLC), whose sole

member is Securus Technologies, LLC (a Delaware LLC) whose sole member is Aventiv

Technologies, LLC (a Delaware LLC) whose sole member is SCRS Acquisition Corporation, a

Delaware Corporation with its principal place of business in Texas.

         2.      Defendant Lonnie Burton is a citizen of the State of Washington and currently

resides in Grays Harbor County, Washington.


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  On July 12, 2022, the Court issued an Order requiring JPay to file an amended complaint with additional allegations
about JPay’s basis for invoking diversity jurisdiction. See [ECF No. 5]. This amended complaint adds those
jurisdictional allegations (see ¶ 1) and does not include any other changes.
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        3.       Defendant Michael Linear is a citizen of the State of Washington and currently

resides in Mason County, Washington.

                                    JURISDICTION AND VENUE

        4.       Personal jurisdiction and venue are proper in this Court pursuant to the agreement

between the parties. Specifically, the agreement provides that the “[t]he parties hereby consent to

jurisdiction and venue in the Federal District Courts in the Northern District of Texas . . . and

waive any objections thereto.” Exhibit 1 ¶ 9(h).

        5.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a).

Complete diversity of citizenship exists, and the amount in controversy exceeds $75,000, exclusive

of costs and interest.

                                      FACTUAL ALLEGATIONS

        6.       Defendants Burton and Linear are users of JPay’s services.

        7.       Prior to using those services, Defendants had to accept the Terms of Service and

Warranty Policy (the “Agreement”).

        8.       Defendant Burton most recently accepted JPay’s Agreement on April 24, 2022.

        9.       Defendant Linear most recently accepted JPay’s Agreement on April 5, 2022.

        10.      The version that both Burton and Linear accepted is attached as Exhibit 1. 2

        11.      The Agreement includes a clear and broad dispute resolution and arbitration

provision, entitled “Dispute Resolution & Arbitration Agreement,” and provides:




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 From time to time over the past several years, JPay has amended its Agreement, published the amended Agreement,
and required JPay users to re-agree to the amended terms before continuing use of JPay’s services. All relevant
versions of the Agreement have had a substantially similar arbitration clause. Defendant Burton accepted previous
versions of the Agreement on May 3, 2019, July 3, 2020, December 20, 2020, and September 10, 2021. Defendant
Linear accepted previous versions of the Agreement on May 3, 2019, June 19, 2020, December 22, 2020, and
September 9, 2021.


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          THIS AGREEMENT REQUIRES THE USE OF ARBITRATION ON AN
          INDIVIDUAL BASIS TO RESOLVE DISPUTES, RATHER THAN JURY
          OR CLASS ACTIONS.

Exhibit 1 ¶ 9 (emphasis in original).

          12.    Indeed, the Agreement makes clear that the parties waive the right to assert or

participate in class action lawsuit or class arbitration. Specifically, the Agreement provides:

          WAIVER OF RIGHT TO BRING CLASS ACTIONS AND REPRESENTATIVE
          CLAIMS: SUBJECT TO THE SMALL CLAIMS COURT EXCEPTION
          ABOVE, AND CERTAIN EXCEPTIONS LISTED BELOW, ALL
          DISPUTES, PAST, PRESENT, AND FUTURE, AND REGARDLESS OF
          THE DATE OF ACCRUAL OF SUCH DISPUTE, SHALL BE
          ARBITRATED ON AN INDIVIDUAL BASIS. The arbitrator is empowered to
          resolve the dispute with the same remedies available in court, however, any relief
          must be individualized to you and shall not affect any other customer. JPay and you
          also agree that each may bring claims against the other only in our respective
          individual capacities (whether in arbitration or court), and in so doing, JPay and
          you hereby waive the right to a trial by jury, to assert or participate in any class
          action lawsuit or class action arbitration, any private attorney general lawsuit or
          private attorney general arbitration, and any joint or consolidated lawsuit or joint
          or consolidated arbitration of any kind.

Exhibit 1 ¶ 9(g).

          13.    Despite this clear arbitration requirement and class action waiver provision,

Defendants filed a complaint against JPay in Washington state court on May 22, 2020, which they

amended on October 31, 2020. The complaint includes class claims and allegations. See Exhibit 2

¶ 185.

          14.    JPay immediately filed a motion to compel arbitration, directing the Washington

court to the then applicable Agreement, which contained a substantially identical arbitration clause

to the one included in Exhibit 1.

          15.    On December 14, 2020, the state court compelled Defendants to “bring their claims

in an individual arbitration pursuant to the parties’ arbitration agreement.” Exhibit 3 at 2 (emphasis

added).



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       16.     Defendants tried to appeal the state court’s decision, but on June 2, 2021, the Court

of Appeals of the State of Washington, Division II, denied Defendants’ motion for discretionary

review. Exhibit 4 at 5.

       17.     On January 14, 2022, each Defendant filed a demand for arbitration with the

American Arbitration Association. Exhibit 5; Exhibit 6. In violation of the state court’s order to

bring individual arbitrations, both demands copy and pasted the state court class action complaint

and sought “$50,000,00” [sic] in damages.

       18.     In their demands, Defendants stated that they “seek[] to invalidate the arbitration

clause and class action waiver in this consumer arbitration.” Exhibit 5 at 1; Exhibit 6 at 1.

       19.     On June 7, 2022, each Defendant filed a motion to declare the Agreement’s

arbitration clause and class action waiver as unconscionable. Exhibits 7 and 8.

       20.     However, under the Agreement, arbitration is not the proper forum to challenge the

class action waiver. Indeed, the Agreement expressly prohibits arbitrators from determining the

scope, validity, effect, or enforceability of the class action waiver and, instead, vests this Court

with the power to hear any challenges to the class action waiver.

       21.     Specifically, the Agreement provides:

       Except as specifically set forth in this section, only the arbitrator is authorized to
       make determinations as to the scope, validity, or enforceability of this Agreement,
       including whether any Dispute falls within its Scope. Notwithstanding the above,
       the scope, validity, effect, and enforceability of this agreement’s waiver of (i)
       class action lawsuits, (ii) representative or class-wide arbitration, (iii) private
       attorney general claims, or (iv) request for public injunctive relief, are to be
       determined solely and exclusively by the Federal District Court located in the
       Northern District of Texas or a Texas state court in Denton County or Collin
       County, and no by Resolute, the AAA, or any arbitrator. If a lawsuit is filed to
       enforce these waivers the parties agree that the arbitration shall be immediately
       stayed, by agreement or court order, until the court case is resolved and all appellate
       review is exhausted. The cost of proceedings under this section, including, without
       limitation, each party’s attorneys’ fees and costs, shall be borne by the unsuccessful
       party. The parties hereby consent to jurisdiction and venue in the Federal District



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         Courts in the Northern District of Texas or Texas state court in Denton County or
         Collin County and waive any objections thereto.

Exhibit 1 ¶ 9(h) (emphasis added).

         22.    Thus, Defendants improperly seek to challenge the class action waiver in an arbitral

proceeding.

                          COUNT I – DECLARATORY JUDGMENT

         23.    JPay adopts and reincorporates the allegations in paragraphs 1 through 22 as set

forth herein.

         24.    This is an action for declaratory judgment under 28 U.S.C. §§ 2201 and 2202.

         25.    An actual and justiciable controversy exists between JPay and Defendants as to

whether an arbitrator is entitled to determine whether the Agreement’s class action waiver is

enforceable.

         26.    Pursuant to the express and clear terms of the Agreement, this Court must determine

the question of whether the class action waiver is enforceable.

         27.    Despite that clear requirement, Defendants seek to have the arbitrator decide this

issue.

         28.    JPay, therefore, is entitled to a declaration that the arbitrator is without power to

hear any challenges to the class action waiver.

                         COUNT II – DECLARATORY JUDGMENT

         29.    JPay adopts and reincorporates the allegations in paragraphs 1 through 22 as set

forth herein.

         30.    This is an action for declaratory judgment under 28 U.S.C. §§ 2201 and 2202.

         31.    An actual and justiciable controversy exist between JPay and Defendants

concerning the enforceability of the Agreement’s class action waiver.



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         32.    JPay maintains that the Agreement’s class action waiver is enforceable and that

Defendants must submit their claims to individual arbitration.

         33.    Defendants maintain that the Agreement’s class action waiver is unconscionable

and, therefore, unenforceable and that Defendants should be able to pursue relief on behalf of a

class.

         34.    JPay, therefore, is entitled to a declaration that the class action waiver is enforceable

and that Defendants must submit their claims to individual arbitration.

                              COUNT III – INJUNCTIVE RELIEF

         35.    JPay adopts and reincorporates the allegations in paragraphs 1 through 22 as set

forth herein.

         36.    If Defendants are allowed to challenge the Agreement’s class action waiver in an

arbitral proceeding, JPay will be irreparably harmed.

         37.    JPay did not agree to submit the question of enforceability of the class action waiver

to arbitration. The parties expressly agreed that a court, and not an arbitrator, must resolve this

question. Exhibit 1 ¶ 9(h).

         38.    No adequate remedy exists at law. If this Court does not enjoin Defendants from

challenging the class action waiver, JPay’s contractual rights will be permanently diminished, as

JPay will be forced to participate in an arbitral process it specifically contracted not to engage in.

         39.    JPay has a substantial likelihood of prevailing on the merits. The Agreement

expressly provides that the parties will only pursue individual arbitration and that any challenges

to the class action waiver are to be decided by this Court.

         40.    Moreover, the Agreement specifically provides that if “a lawsuit is filed to enforce

these waivers the parties agree that the arbitration shall be immediately stayed, by agreement or




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court order, until the court case is resolved and all appellate review is exhausted.” Exhibit 1 ¶ 9(h).

As JPay has filed this case to enforce its class action waiver, Defendants have contractually

consented to a stay of the arbitral proceedings and have authorized a court order to enforce that

agreement.

        41.        JPay, therefore, is entitled to an order enjoining Defendants from challenging the

class action waiver in an arbitral proceeding.

           COUNT IV – STAY PURSUANT TO FEDERAL ARBITRATION ACT

        42.        JPay adopts and reincorporates the allegations in paragraphs 1 through 22 as set

forth herein.

        43.        This is an action to stay the arbitration proceedings pending this Court’s

determination of whether the Agreement’s class action waiver is enforceable.

        44.        Although the Federal Arbitration Act contains no explicit provision authorizing a

federal court to stay ongoing arbitration, the Fifth Circuit has established that in appropriate

circumstances the district court may stay an arbitration. See PoolRe Ins. Corp. v. Organizational

Strategies, Inc., No. H-13-1857, 2013 WL 3929077, at *9 (S.D. Tex. 2013) (citing Tai Ping Ins.

Co., Ltd. v. M/V Warschau, 731 F.2d 1141, 1144 (5th Cir. 1984)).

        45.        A stay is appropriate “to prevent the continued arbitration of a dispute that is not

arbitrable.” Id.

        46.        Here, the dispute of whether the Agreement’s class waiver is enforceable is not

arbitrable. The Agreement expressly precludes the arbitrator from determining whether the class

waiver is enforceable and, instead, vests this Court with the power to decide the enforceability of

the class action waiver.




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       47.      Additionally, the Agreement provides that “[i]f a lawsuit is filed to enforce the[]

[class action] waiver[] the parties agree that the arbitration shall be immediately stayed, by

agreement or court order, until the court case is resolved and all appellate review is exhausted.”

Exhibit 1 ¶ 9(h).

       48.      JPay, therefore, is entitled to an order staying the arbitration proceedings until this

Court determines whether the class action waiver is enforceable.

                                      REQUESTED RELIEF

WHEREFORE, JPay respectfully requests that this Court:

       A.       Declare that the arbitrator does not have the power to determine the enforceability

of the class action waiver;

       B.       Declare that the Agreement’s class action waiver is enforceable;

       C.       Declare that Defendants are precluded from pursuing class action claims and must

submit to individual arbitration;

       D.       Enjoin Defendants from challenging the class action waiver in the arbitration

proceedings;

       E.       Stay the two arbitration proceedings: Lonnie Burton #978598 v. JPay LLC, Case

No. 01-22-0000-3052 and Michael Linear #847176 v. JPay LLC, Case No. 01-22-0000-3053;

       F.       Award JPay attorneys’ fees and costs pursuant to the Agreement, which provides

that “[t]he cost of proceedings [challenging the class action waiver] . . . including, without

limitation, each party’s attorneys’ fees and costs, shall be borne by the unsuccessful party.” Exhibit

1 ¶ 9(h); and

       G.       Award JPay other and further relief as may be proper.




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Dated: July 12, 2022            Respectfully Submitted,

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